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                                               Account Owners and Signors for Relevant Bank Accounts

                            Last 4 Digits of                         Account Signor, Authorized                        Account Status
       Institution
                             Bank Account                                 User or Owner                                (Approximate
                                                                                                                            dates)
                                                                                                                     Opened 12/05/2018.
       ANB Bank                     3099                                   M        M                             Account closed 01/03/2019
                                                                          P       M                                  Opened 09/18/2014.
  Access National Bank              5965                               Signor              W                      Account reviewed through
                                                                                                                         05/17/2019
                                                                  5530 J           D                                 Opened 03/08/2018.
     BBVA Compass                   0987                        Authorized Signor C         R                     Account closed 05/31/2019
                                                                                                                     Opened 07/09/2018
Guaranty Bank and Trust             7867                                    Michael A Tew                         Account closed 09/25/2018
                                                                                                                     Opened 01/07/2019.
Navy Federal Credit Union           8486                           Kimberley Tew and Michael Tew                  Account reviewed through
                                                                                                                         06/16/2020
                                                                                                                     Opened 03/17/2019.
Navy Federal Credit Union           5336                                     Michael Tew                          Account reviewed through
                                                                                                                         07/06/2020
                                                                       Global Fuel Logistics Inc.                    Opened 06/08/2020.
Navy Federal Credit Union           3094                                 Owner Michael Tew                        Account reviewed through
                                                                                                                         07/08/2020
                                                                                                                     Opened 03/22/2018.
 Regions Bank Account               4514                                   M        M                             Account closed 12/06/2018
                                                                            Sand Hill LLC                            Opened 05/02/2019.
       Wells Fargo                  6934                           Authorized Signor Michael A Tew                Account closed 03/26/2020
                                                                      Global Fuel Logistics, Inc.                    Opened 08/29/2019.
       Wells Fargo                  2064                           Authorized Signor Michael A Tew                Account closed 03/26/2020
                                                                                                                    Opened 10/31/2017.
     Signature Bank                 5545                            National Air Cargo Group, Inc.                Account reviewed through
                                                                                                                        07/31/2020
                                                                                                                    Opened 11/05/2016.
     Signature Bank                 5529                           National Air Cargo Holdings, Inc.              Account reviewed through
                                                                                                                        07/31/2020
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                                            Additional Bank Accounts with transfers from Relevant Bank Accounts,
                                             ATM Withdrawals, Cash Withdrawals, and Cryptocurrency Activities

                                      Last 4 Digits of                    Account Signor, Authorized                     Account Status
       Institution
                                      Bank Account                             User or Owner                           (Approximate dates)

                                                                              P        M                               Opened 09/18/2014.
  Access National Bank                     5965
                                                                           Signor L             W              Account reviewed through 05/17/2019

                                                                                                                       Opened 12/05/2018.
       ANB Bank                            3099                                 M        M
                                                                                                                    Account closed 01/03/2019


                                                                      5530 J         eD                                Opened 03/08/2018.
     BBVA Compass                          0987
                                                                    Authorized Signor C          R                  Account closed 05/31/2019


                                                                                                                        Opened 01/23/2018.
     BBVA Compass                          3317                                  Kimberley Tew
                                                                                                               Account reviewed through 11/30/2019.

                                                                                                                       Opened 07/09/2018.
Guaranty Bank and Trust                    7867                                  Michael A Tew
                                                                                                                    Account closed 09/25/2018

                                                                                                                        Opened 09/14/2019.
Navy Federal Credit Union                  0481                                  Kimberley Tew
                                                                                                               Account reviewed through 06/16/2020.

                                                                                                                        Opened 09/17/2019.
Navy Federal Credit Union                  0556                                  Kimberley Tew
                                                                                                               Account reviewed through 06/16/2020.

                                                                                                                        Opened 09/17/2019.
Navy Federal Credit Union                  0572                                  Kimberley Tew
                                                                                                               Account reviewed through 06/16/2020.

                                                                                                                        Opened 09/14/2019.
Navy Federal Credit Union                  0648                                   Michael Tew
                                                                                                               Account reviewed through 06/16/2020.

                                                                                                                        Opened 09/14/2019.
Navy Federal Credit Union                  3009                                  Kimberley Tew
                                                                                                               Account reviewed through 06/16/2020.

                                                                            Global Fuel Logistics Inc.                 Opened 06/08/2020.
Navy Federal Credit Union                  3094
                                                                              Owner Michael Tew                Account reviewed through 07/08/2020

                                                                                                                        Opened 01/08/2019.
Navy Federal Credit Union                  3494                                   Michael Tew
                                                                                                               Account reviewed through 06/16/2020.
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                                      Last 4 Digits of            Account Signor, Authorized              Account Status
       Institution
                                      Bank Account                     User or Owner                    (Approximate dates)




                                                                                                         Opened 05/17/2020.
Navy Federal Credit Union                  4371                        Kimberley Tew
                                                                                                Account reviewed through 06/16/2020.

                                                                                                         Opened 05/17/2020.
Navy Federal Credit Union                  4397                           Michael Tew
                                                                                                Account reviewed through 06/16/2020.

                                                                                                         Opened 05/17/2020.
Navy Federal Credit Union                  4405                        Kimberley Tew
                                                                                                Account reviewed through 06/16/2020.

                                                                                                        Opened 05/17/2020.
Navy Federal Credit Union                  4421                           Michael Tew
                                                                                                     Account closed 06/16/2020.

                                                                                                        Opened 05/17/2020.
Navy Federal Credit Union                  4439                           Michael Tew
                                                                                                     Account closed 06/16/2020.

                                                                                                         Opened 05/17/2020.
Navy Federal Credit Union                  4496                        Kimberley Tew
                                                                                                Account reviewed through 06/16/2020.

                                                                                                         Opened 03/17/2019.
Navy Federal Credit Union                  4602                        Kimberley Tew
                                                                                                Account reviewed through 06/16/2020.




                                                                                                         Opened 03/17/2019.
Navy Federal Credit Union                  4917                        Kimberley Tew
                                                                                                Account reviewed through 06/16/2020.

                                                                                                        Opened 03/17/2019.
Navy Federal Credit Union                  5336                           Michael Tew
                                                                                                Account reviewed through 07/06/2020
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                                      Last 4 Digits of             Account Signor, Authorized                   Account Status
       Institution
                                      Bank Account                      User or Owner                         (Approximate dates)




                                                                                                              Opened 01/08/2019.
Navy Federal Credit Union                  6337                            Michael Tew
                                                                                                           Account closed 06/16/2020.

                                                                                                              Opened 01/07/2019.
Navy Federal Credit Union                  8486                  Kimberley Tew and Michael Tew
                                                                                                      Account reviewed through 06/16/2020

                                                                     Global Fuel Logistics Inc.                Opened 06/08/2020.
Navy Federal Credit Union                  8829
                                                                       Owner Michael Tew              Account reviewed through 06/30/2020.

                                                                                                              Opened 01/07/2019.
Navy Federal Credit Union                  9148                           Kimberley Tew
                                                                                                           Account closed 06/16/2020.




                                                                                                               Opened 01/07/2019.
Navy Federal Credit Union                  9457                  Kimberley Tew and Michael Tew
                                                                                                      Account reviewed through 06/16/2020.




                                                                                                              Opened 03/22/2018.
 Regions Bank Account                      4514                          M        M
                                                                                                           Account closed 12/06/2018

                                                                    Global Fuel Logistics, Inc.               Opened 08/29/2019.
      Wells Fargo                          2064
                                                                 Authorized Signor Michael A Tew           Account closed 03/26/2020

                                                                          Sand Hill LLC                       Opened 05/02/2019.
      Wells Fargo                          6934
                                                                 Authorized Signor Michael A Tew           Account closed 03/26/2020

                                                                                                              Opened 10/31/2017.
     Signature Bank                        5545                   National Air Cargo Group, Inc.
                                                                                                      Account reviewed through 07/31/2020

                                                                                                              Opened 11/05/2016.
     Signature Bank                        5529                  National Air Cargo Holdings, Inc.
                                                                                                      Account reviewed through 07/31/2020
